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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO


   Case No. 1:23-cv-939-DDD-SKC
   BELLA HEALTH AND WELLNESS et al.,
           Plaintiffs,
   v.
   PHIL WEISER, in his official capacity as Attorney General of Colorado, et al.,
           Defendants.


                 STIPULATED FEDERAL RULE OF EVIDENCE 502(d) ORDER


        The production of privileged or work-product protected documents, electronically stored

   information (“ESI”) or other information, whether inadvertently or otherwise, is not a waiver of

   the privilege or protection from discovery in this case or in any other federal or state proceeding.

   This Stipulated Order shall be interpreted to provide the maximum protection allowed by Fed. R.

   Evid. 502(d).

        Nothing contained herein is intended to or shall serve to limit a party’s right to conduct a review

   of documents, ESI, or other information (including metadata) for relevance, responsiveness and/or

   segregation of privileged and/or protected information before production.

        When the disclosure of any information, document or thing protected by privilege or work-

   product immunity is discovered by the disclosing party and brought to the attention of the receiving

   parties, the treatment of such material by the receiving parties shall be in accordance with Fed. R.

   Civ. P. 26(b)(5)(B). Disclosure of such information, document or thing shall not by itself constitute

   a waiver by the disclosing party of any claims of privilege or work-product immunity. However,

   nothing herein restricts the right of the receiving parties to challenge the disclosing party’s claim

   of privilege within a reasonable time after receiving notice of the claim of privilege.


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      IT IS SO ORDERED.

      Date: January 3, 2024.


                                            BY THE COURT:



                                            Hon. S. Kato Crews
                                            United States Magistrate Judge




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    APPROVED:

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